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                              UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                             www.flsb.uscourts.gov
                                                 CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                              Original Plan
                                                                    Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                        n   Second                                  Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: PETERSON, JOHN WAYNE JR.                         JOINT DEBTOR:                                       CASE NO.: 18-13308-MAM
SS#: xxx-xx- 6611                                           SS#: xxx-xx-
I.          NOTICES
            To Debtors:        Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                               and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                               Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                               filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:      Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                               be reduced, modified or eliminated.
            To All Parties:    The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                               box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                              n   Included                Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                  Included            n   Not included
  out in Section III
  Nonstandard provisions, set out in Section VIII                                                                 Included            n   Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.   $264.55              for months     1   to 27 ;

                   2.   $189.00              for months 28 to 42 ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                                NONE     PRO BONO
        Total Fees:               $5075.00            Total Paid:             $240.00           Balance Due:           $4835.00
        Payable             $147.53          /month (Months 1       to 27 )
        Payable             $141.99          /month (Months 28 to 33 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        $3500.00 + $525 M/Value + $525 MTM + $525 MTM = $5,075.00

        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.        TREATMENT OF SECURED CLAIMS
            A. SECURED CLAIMS:               n   NONE
            [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
            B. VALUATION OF COLLATERAL:                     NONE
                   IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
                   SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
                   YOU PURSUANT TO BR 7004 AND LR 3015-3.
                   1. REAL PROPERTY:             n   NONE
                   2. VEHICLES(S):           NONE

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         1. Creditor: Credit Acceptance                           Value of Collateral:               $10,857.45                     Payment
                      Corporation
                                                                  Amount of Creditor's Lien:         $10,857.45   Total paid in plan:      $12,670.20
              Address: 25505 West 12 Mile Rd
                       Suite 3000
                       Southfield, MI 48034                       Interest Rate:       6.25%                          $85.99      /month (Months   1 to 27 )

         Last 4 Digits of Account No.: 4467
         VIN: WVWMN7AN3CE550600
         Description of Collateral:
         2012 Volkswagon CC Sport 90,000 Miles


         Check one below:
            Claim incurred 910 days or more pre-
            petition
            Claim incurred less than 910 days pre-
          n
            petition
                    3. PERSONAL PROPERTY:                     n   NONE
            C. LIEN AVOIDANCE                     n    NONE
            D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
               distribution fom the Chapter 13 Trustee.
                            NONE
                       n    The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s)
                            request that upon confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in
                            personam as to any codebtor(s) as to these creditors.
                            Other:
                            Name of Creditor                  Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                            Wells Fargo Bank                  0741                         Secured Card
                       1.
                    Credit Acceptance      4467                          2012 Volkswagon CC Sport
                 2. Corporation
            E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
               fom the Chapter 13 Trustee.
                       n    NONE
IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
            A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE:                                            n   NONE
            B. INTERNAL REVENUE SERVICE:                               NONE
              Total Due:                    $1,561.28             Total Payment                  $1,561.28
               Payable:                  $18.48          /month (Months      1      to 27 )
               Payable:                  $29.82          /month (Months 28          to 33 )
               Payable:                  $98.18          /month (Months 34          to 42 )
            C. DOMESTIC SUPPORT OBLIGATION(S):                             n     NONE
            D. OTHER:                n   NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS
               A. Pay                $73.63           /month (Months 34        to 42 )
                       Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.           If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.

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               C. SEPARATELY CLASSIFIED:                    n   NONE
              *Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
              creditors pursuant to 11 U.S.C. § 1322.
VI.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
            section shall not receive a distribution from the Chapter 13 Trustee.
                       n   NONE
VII.        INCOME TAX RETURNS AND REFUNDS:                             NONE
                       n   Debtor(s) will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521.
VIII.       NON-STANDARD PLAN PROVISIONS                        n   NONE


                           PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                               Debtor                                                               Joint Debtor
  PETERSON, JOHN WAYNE JR.                                       Date                                                                     Date




    Attorney with permission to sign on                         Date
             Debtor(s)' behalf
   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.




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